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seeking a stay must also establish that the non-moving
party or other parties will not suffer substantial
harm if the stay is granted. In other words, the
moving party must show that the balance of harms tips
in favor of granting the stay."

Again, Adelphia Communications Corp.

In this case, if a stay of this court order enforcing

the plan injunction is granted, the state court action will not

be enjoined, and the liquidating trustee be -- will be forced

to continue defending the appellant's claim outside of this

court.

“Phe liquidation costs that would be required will
deplete the assets of the liquidating trust and
diminish recoveries for the debtors' creditors. This
constitutes substantial harm."

MEF Global, 2012 WL 5386101

The effect -- and I quote from that:

"The effect of a stay would increase potential
litigation costs and minimize return to the estate,
causing substantial injury which could otherwise be
avoided to the estate. This factor weighs against
granting a stay."

Public interest.

"The final factor considers the interest of third

parties who act in reliance on the Bankruptcy Court's

 
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ruling."

In Re Moreau, 135 B.R. 209 (Bankr. N.D.N.Y. 1992).

"Consideration of the public interest factor may turn
on the finality of certain bankruptcy proceedings or
whether the importance of obtaining clarification of
the law requires the protection of a party's interest
during the appeal process."

WestPoint Stevens, 2007 WL 1346616 (S.D.N.Y. 2007).
"The public interest factor favors the expedient
administration of bankruptcy proceedings."

Adelphia Communications, In Re Savage Associates.

"In addition, there is a strong public interest in
maximizing the return to creditors in a bankruptcy."
ME Global, 2012 WL 5386101.

"Although there is also a public interest in ensuring
that matters are properly resolved on appeal, the
former interest outweighs the latter."

In Re Metiom, Inc., 318 B.R. 263 (S.D.N.Y¥. 2004),
Quote:

"This Court finds that the public interest in the
expeditious administration of bankruptcy cases, as
well as in the preservation of the bankruptcy assets
for the purpose of paying creditors, rather than
litigation of claims lacking a substantial possibility

of success, outweighs the public interest in resolving

 
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the issues presented here on appeal."
2 The Court finds that the public interest weighs

3 against granting a stay. Each of the four factors weighs

4 against qranting a stay pending appeal. The motion is denied.
5 Submit an order.

6 Very good. That finishes all our contested matters?
7 MS. SCHULTZ: No, Your Honor, That finishes the

g contested matters wherein Akin Gump is representing the

9 liquidating trust. Mr. Oswald also has a matter set for

10 | hearing.
11 THE COURT: Yes, I'm ready for that one.
12 MS. SCHULTZ: And I would ask, Your Honor, may I be

13 |}excused, since I'm not involved in that particular proceeding?

14 THE COURT: Yes, you may be excused.

15 MS. SCHULTZ: Thank you, Your Honor.

L6 THE COURT: Thank you.

17 Yes, sir.

18 MR. OSWALD: Good afternoon, Your Honor. Frank Oswald

19 ]}again for Togut Segal. My colleagues David Smith and Lara
20] Sheikh. Just as an overview -- and Mr. Davis is here,

21) obviously, for AIG.

22 THE COURT: Right.

23 MR. OSWALD: So I was last before you at the July
24] conference on the nine proofs of claim filed by AIG or its

25 | predecessor, which might be known as Chartis and other names.

 

 
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And the gravamen of what you heard at that hearing was we
needed to know what these claims were. And we've been trying
to get at what the claims -- the components, the amounts, and
the bases. And at Your Honor's direction, we sat in court and
negotiated a scheduling order that dealt with that piece, as
well as the matter that's in front of you today.

So let me just say, with regard to getting the claim
information, Mr. Davis did provide us with a comprehensive
letter in early August. We've got these two components of the
claim; basically, the workers' comp component, the malpractice
component.

The importance of the claims to the estate, of course,
is that there is collateral that's been posted with the non-
debtor affiliate. And to the extent that collateral is not
needed, that collateral will be released upstream to us and
distributed to the creditor body. It's a little less than $40
million.

The Court has heard that, prior to the -- my firm
getting involved in what's now the contested claims, is that
the parties had a long, twenty-plus-year history of working
together to set reserves, look at these claims as they come
due.

And sometime, while the plan negotiations were hot and
heavy, the request to release some of the collateral at that

time to facilitate those negotiations and plan confirmation led

 
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to a -- what I'll say is a renewed look at the reserves. And
we went from 10 million or so in reserves to 20 million. I

believe the current reserves now have been upped to close to --

THE COURT: I'm a little confused. This is not your
motion.

MR. OSWALD: Yes, this is -- well, I wanted to lay the
-- the way we left it was we would provide a position letter to
Mr. Davis regarding what the motion is about. And what the
motion is about whether or not certain of these claims are
subject to the collateral. And I was just leading to the --
how we got to today's motion.

THE COURT: Okay.

MR. OSWALD: If that's not helpful, I can stop on
that.

THE COURT: It's not helpful at this moment. It will
be helpful in a minute, but not at this moment. There are some
things I want to ask first.

MR. OSWALD: Uh-huh.

THE COURT: And I'm going te let you answer at counsel
table, But the first thing I'm going to do is I want to do a
factual background, and I want to be corrected if my factual
background is wrong. And you were beginning to repeat some of
that. So I want y'all to listen carefully.

So Saint Vincents Catholic Medical Center of New York,

and often referred to as "SVCMC," or the debtors, was formed

 
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pursuant to a merger in 2000, between Catholic Medical Center;
"emc," and Saint Vincents Hospital, "CVH" [sic], and multiple
other entities. The multiple other entities, we're not
necessarily dealing with; it had nothing to do with this. Am I
correct?

MR. DAVIS: As to the other entities, they have
nething to do with today's motion.

THE COURT: For the purpose of this motion, the
relevant predecessor entities are Catholic Medical Center and
Saint Vincents Hospital. And you've just confirmed that.

AGI -- AIG, excuse me, began providing commercial
insurance to both Catholic Medical Centers and Saint Vincents
Hospital in the '90s, 1990s.

MR. DAVIS: Yes, Your Honor.

THE COURT: AIG's insurance relationship with these
entities continued until Catholic Medical Centers and Saint
Vineents Hospital merged to become what would later be the
debtors in 2000.

MR. DAVIS: Yes, Your Honor.

THE COURT: Post-merger, AIG continued providing
insurance for the debtors. In the debtors' first bankruptcy
case, filed in 2005, the debtors assumed the contracts relevant
to AIG and Saint Vincents Catholic Medical Centers.

MR. DAVIS: Yes, Your Honor.

THE COURT: So that insurance relationship continued.

 
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MR. DAVIS: Yes.

THE COURT: So during the course of the debtors'
second bankruptcy, multiple orders have been entered that
pertained to this insurance relationship.

MR. DAVIS: Yes. I wouldn't want to think that
they're broad in implication. They were specific to renewals.

THE COURT: Okay. This is the one I want to talk
about. A stipulation between AIG and the debtors was so
ordered by this Court on September the 9th, 2010. This
stipulation included a whereas clause stating the following:

"Whereas the debtors received a notice of premium due

for the policy periods ranging from April the lst,

1995 and April the lst, 1999, with respect to Chartis

Insurance Contract Nos. 209400, 209401, 209402,

209403, and its termed 'The 1995-1999 Prepetition

Insutance Program,' and on or about July the 9th,

2010, the debtors informed the insurer that the merits

of that amount sought was disputed."

So the parties agree that the present issue before
this Court relates to certain losses that were incurred by
Saint Vincents Hospital between 1999 -- excuse me -- 1995 and
1998; that these losses occurred before the merger that created
Saint Vineents Catholic Medical Center.

MR. DAVIS: Yes, Your Honor.

THE COURT: And the debtors do not dispute that AIG

 
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has a claim against the debtors for this loss.

MR. OSWALD: Correct.

THE COURT: What the debtors dispute is whether AIG
has a direct claim against a non-debtor, wholly owned
subsidiary of the debtors, the OIL; Queensbrook Insurance,
Limited.

MR. OSWALD: Both whether there's a direct claim, and
we say the claim is against the debtors; and then, more
specifically, whether or not the OIL collateral backstops those
elaims.

THE COURT: That's my next one. The debtors also
dispute whether AIG has a claim against any collateral held by
OIL.

MR. OSWALD: For that period.

THE COURT: For that period only.

MR. DAVIS: Your Honor, the term "collateral" can be
misconstrued, A letter of credit is, technically, not property
ef the estate; and, therefore, I would prefer, for clarity,
that we say that we have a claim against the letter of credit.

THE COURT: And would you clarify that the Chartis
contracts are for the Saint Vincents Hospital losses?

MR. DAVIS: The issue today is for the Saint Vincents
Hospital losses, correct.

THE COURT: Okay. And QIL is a wholly owned insurance

subsidiary of the debtors. OQIL is not a debtor in the

 
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bankruptcy case, and it is prohibited from being a debtor under
Section 109 of the Bankruptcy Code.

OIL was created in 1998, prior to the merger of Saint
Vincents Catholic Medical Center. And at the time of the
formation, OIL was only a wholly owned subsidiary of Catholic
Medical Centers, a predecessor entity of Saint Vincents
Catholic Medical Center.

MR. OSWALD: That's correct.

MR. DAVIS: I can't disagree with some of those
particulars, but I didn't know the date of creation, nor did I
know the ownership prior to the merger. But I don't have any
reason to dispute it, either.

THE COURT: If you do so, I'd like to know in writing
Soon.

MR. DAVIS: No, I -- I don't believe I do have a
reason to; I just don't happen te you know. You know, I --

THE COURT: Okay. So OIL was created for the express
purpose of paying all of Catholic Medical Centers deductibles
and losses to AIG, and Catholic Medical Center collateralized
its obligations to AIG with cash and letters of credit provided
by QIL, and that's called the "QIL Collateral," or referred to
as the "OIL Collateral."

MR. DAVIS: Again, I don't know that that was the only
purpose for which OIL was formed.

THE COURT: As of the petition date, two letters of

 
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eredit in AIG's favor aggregate thirty-seven million, eight
hundred and fifty-three dollars and seven -- excuse me -—- eight

hundred and fifty-three thousand, seven hundred and two
dollars. And there was eighty-eight hundred and fourteen
thousand six hundred and eighty-four dollars [sic] being held.

MR. DAVIS: In cash.

THE COURT: In cash.

MR. DAVIS: I can't confirm the number, but I don't
have any reason to disagree with it, either. And I know it's
in -- in the order of magnitude, it's correct.

THE COURT: The letters of credit and cash act as a
reserve for any losses incurred by AIG. And every year, AIG
has designated a certain amount of the OIL collateral to be
held in reserve.

MR. DAVIS: Your Honer, could you repeat that? I'm
not sure I understand it.

THE COURT: Sure. I'd be delighted.

These letters of credit -- and again, that was the
petition date, but just referring to the letters of credit in
general -- and cash act as a reserve for any losses occurred --
incurred by AIG. And every year, AIG has designated a certain
amount of QIL collateral to be held in reserve.

MR. DAVIS: Two comments about that.

THE COURT: Okay.

MR. DAVIS: First is, it's designated as security.

 
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I'm not sure I know what the word "reserve" means, and TIT could
be -- it could have more than one meaning.

And second, each year, upon renewal or approximately,
the parties agreed on the amount. It wasn't designated by AIG;
it was an agreement. Jt can show you an example. There's one
annexed to the motion.

THE COURT: Okay. And based on the debtors' papers,
as of June the 30th, 2011, AIG and the debtors agreed to
establish total reserves in the amount of forty percent of the
OIL collateral, which was approximately $16 million.

MR. DAVIS: I don't know that at all, Your Honor. And
eur present position is that the reserve requirements are
eonsiderably higher, particularly given that medical
malpractice claims were stayed by this -- by this case; and
therefore, the growth in medical malpractice exposure has been
unpredictable.

THE COURT: That was as of 2011.

MR. DAVIS: I don't know, Your Honor. I don't know
that fact.

THE COURT: Okay. And then the --

MR. OSWALD: From the debtors' perspective, Your

Honor, the June 30 numbers are agreed-upon numbers, as was done

THE COURT: And do you have --

MR. OSWALD: -- in the ordinary course.

 
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THE COURT: -- documentation on that?

MR. OSWALD: I'm sure we do.

THE COURT: Okay. If you'll make sure he sees it.

But then the debtors' papers also have indicated that
AIG has increased reserves to approximately 22.5 million by
February the 28th, 2013. And it seems the amount of reserve
held by AIG has increased even more, and may be at 31.8 million
by August the 8th, 2013.

MR. DAVIS: And the word "reserves" has an ambiguity
in it, and that's, I think, what the problem may be, in terms
of why those numbers seem striking.

There are two kinds of reserves; there are incurred
reserves, and there are reserves for losses that are incurred,
but net reported. The incurred reserves are the number that
the parties measure and can agree upon and can identify, and
it's based on known claims and known facts.

In addition to that, actuaries do predictions for
losses that are either not reported or under-reported, or
subject to loss development. And either of those --

THE COURT: I heard you.

MR. DAVIS: Hither of those can be reserves.

THE COURT: I'm doing big picture. I heard you.

MR. DAVIS: Yeah.

THE COURT: The key dispute between the parties is

whether the Saint Vincents losses are covered under any

 
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agreement between AIG and Saint Vincents Catholic Medical
Centers as successor to the Catholic Medical Center, the
original party who entered into the agreement with QIL.

AIG concedes that Saint Vincents Hospital was never a
party to the relevant agreements. Instead, AIG then argues
that Saint Vineents Hospital merged into Saint Vincents
Catholic Medical Center, and Saint Vincents Catholic Medical
Center renewed the policy year after year. As a result, AIG
states that it can draw down on the OIL letters of credit as a
reserve against Saint Vincents Hospital's losses.

MR. DAVIS: Your Honor, there are two explicit
provisions which I'd like to point to, which support that
econelusion.

THE COURT: Okay.

MR. DAVIS: Do you want to do that now?

THE COURT: We'll get there,

MR. DAVIS: Okay.

THE COURT: We'll get there.

tn a stipulation between the debtors and AIG dated
September the 10th, 2010, the parties agreed to a new
arbitration agreement for all claims that AIG has against the
debtor, except -- and I want to read this carefully. So there
Was a stipulation between the debtor and AIG dated September
the 10th, 2010.

The parties agreed to a new arbitration agreement for

 
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all claims that AIG had against the debtor, except, however --
and this goes back to what I said at the beginning -- Chartis
Insurance Contract Nos. 209400, 209401, 209402, and 209403 are
expressly precluded from the arbitration agreement, and the
parties exptessly reserve their respective rights, if any, with
respect to those contracts and claims, if any, thereunder;
ineluding, without limitation, the insurer's right to seek
arbitration of all -- of any alleged disputes arising from or
relating to the 1995-1999 prepetition insurance program,
separately or in conjunction with any arbitration, pursuant to
the arbitration agreement and the rights of the debtors and
other parties-in-interest to object to such arbitration. In
other words, the present claim is issue -- at issue is the only
claim that is not in arbitration and part of the OIL
eollateral. Is that correct?

MR. DAVIS: No. The conclusion is not correct. ‘The
facts are correct. The -- we have the right to arbitration in
a preexisting agreement and in a separate agreement. We have
it in two agreements, both of which I can show Your Honor. And
the new arbitration agreement doesn't cover it, has no -- and
as you correctly point out, the new arbitration agreement is
not a basis to seek arbitration, nor is it mentioned in our
papers, except to point out that we're not relying on it. It's
Ehe old arbitration --

THE COURT: I think you misunderstood.

 
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MR. DAVIS: Okay.

THE COURT: Let me reread it.

In a stipulation between the debtors --

MR. DAVIS: Uh-huh.

THE COURT: <-- and AIG, dated September the 10th,
2010, the parties agreed to a new arbitration agreement for all
claims that AIG has against the debtor, except those Chartis
Insurance contracts that I read --

MR. DAVIS: Right. I understand everything you read,
Your Honor, was correct. It was the -- when you said
"therefore," and you stated a conclusion that I disagreed with
the conclusion.

THE COURT: I didn't state "therefore," I said
"however."

MR. DAVIS: Well, perhaps --

THE COURT: There was no "therefore" in that sentence.

MR. DAVIS: But after you -- after you were done
quoting it, you then said -- added an additional sentence. It

was the additional sentence.

THE COURT: In the -- “in other words," is what I
said.

MR. DAVIS: Right.

THE COURT: The present claims at issue are the only
claims that are not in arbitration and part of the OIL

eollateral. That's all I said.

 
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MR. DAVIS: I don't understand that sentence, but I
would -- I would say that the present claims are subject to the
QIL collateral and are subject to arbitration, and I'm prepared
to show why both of those statements are our position.

THE COURT: Okay. I have questions for you. JT'm not
here for arguments, I'm here for questions.

MR. DAVIS: Okay.

THE COURT: I want you both to answer this, but I want
you to go first.

MR. DAVIS: Certainly.

THE COURT: Are the Saint Vincents Hospital losses
related to the Chartis Insurance Contracts 209400 through
209403, for policy periods ranging from April the lst, 1995
through April the lst, 1999?

MR. DAVIS: Those are exactly the -- the losses we're
putting at issue in this motion.

MR. OSWALD: Correct, Your Honor.

THE COURT: Okay. For you, AIG. Is this properly
before the Court as a contested matter? What about Rule 7001,
which is what is an adversary? And aren't you asking for a
declaratory judgment that the QIL letters of credit are
security for your claim, and why does this not require an
adversary?

MR. DAVIS: Your Honor, we didn't wish to bring this

motion; we were ordered to bring this motion. We do not think

 
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this Court has jurisdiction today.

THE COURT: All right.

MR. DAVIS: And we certainly think the Court lacks
jurisdiction over the counterclaim.

THE COURT: The scheduling order said it was a
contested matter. Do you both agree that the issue before the
Court can be resolved by way of a contested matter, instead of
an adversary?

MR. OSWALD: I do, Your Honor. I mean, again,
harkening back to the July conference and the several issues
that were raised there, first and foremost was getting a clear,
concise statement of the claims, tegether with the backup. And
then we indicated as an initial -- because, as I said before,
once we got a clear and concise statement of the claims with
the backup, the parties might not be as far apart as we thought
we were.

One example, Your Honor, is on the workers'
compensation component, where in a gross amount, I think the
parties are in a ten-million-dollar claim range, Your Honor.

THE COURT: But we agree we're okay on the contested
matter.

MR. OSWALD: Well, that was the purpose of sitting
there and negotiating and agreement. And again, the process
that we agreed to was we would provide -- they would provide us

with a clear and concise statement of the claim with the

 
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backup. We would provide them with a position statement, vis-
a-vis this particular piece of the claim, this 1995 to '99, A,
why we thought it was not the subject of the QIL collateral; B,

why the Court retained the jurisdiction.

THE COURT: Okay.

MR. OSWALD: It harkens back to the stipulation,
specifically reserving, if you will.

We conceded last time, Your Honor may recall, we don't
come here to say all disputes with the insurance company are
properly before this Court. Mr. Davis properly indicated --

THE COURT: Okay. We'll get a chance to argue.

MR. OSWALD: Yeah.

THE COURT: I'm asking one specific question.

MR. DAVIS: I --

MR. OSWALD: But we believe the Court -- we believe
that's what --

THE COURT: We're on a contested matter.

MR. OSWALD: -- the parties agreed to. And the
parties --

THE COURT: You brought it. I don't know how you can
argue against it.

MR. DAVIS: Your Honer, we were -- we were ordered to
bring it, and we're not going to argue against it. But if it's
incorrect, it is -- it stands where it stands.

THE COURT: Okay. That's all I need to know.

 
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1 Do you two parties agree on the amount of Saint
2 Vincents Hospital's losses?
3 MR. DAVIS: I don't know that we've ever discussed it.
4 They specifically sent us --
5 MR. OSWALD: Yeah, I don't think we've gotten down to
6 the penny, but I think that -- we think this piece of the
i) losses is about $2 million.
a MR. DAVIS: So do we.
g MR. OSWALD: And I think they think they're in that
10 |) range, too. I can't -- I don't think we've come to the
11 |) specific dollar amount, but certainly --
12 THE COURT: It's there.
13 MR. OSWALD: -= from what we're hearing from both
14 ||}clients, the dollar amount is not really going to --
15 MR. DAVIS: We stated the dollar amount --
16 MR, OSWALD: -- hold us up on the issue.
17 MR. DAVIS: -- in the statement that the court ordered
18 |}us to provide on August 8th, and there's been no push-back to
19 |} that number.
20 THE COURT: Does AIG have an ability to draw down on
91 | the letters of credit unilaterally?
22 MR. DAVIS: We think we do, actually, because it's not
23 ||/property of the estate, it's not governed by the automatic
24 | stay. But we choose not to because we don't want to act
95 unnecessarily in a contested -- in a controversial way. We're

 

 
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| hoping to keep --
2 THE COURT: Yeah, you heard the ruling before.
3 MR. DAVIS: Yeah.
4 THE COURT: Okay. Is cash actually transferred to an
5 escrow account?
6 MR. DAVIS: Which cash? The letter of credit hasn't
a been drawn.
8 THE COURT: At all.
9 MR. DAVIS: At all.
10 MR, OSWALD: That's correct.
11 MR. DAVIS: And by the way, the debtors' name does not

12 | appear on the letter of credit at all. It's not issued at the

13|}request of a letter of the debtor, it isn't issued with the

14 ||debtor as a beneficiary, it isn't issued with the debtor as an

15 ]}account party, it --

L6 THE COURT: So the reserve is basically a book entry;

17 |} is that what I've got?

18 MR. DAVIS: Reserves are a book entry, but they can --
19|} you can also have a cash reserve. In this case, T'm not sure

29 ||how to answer your question, Your Honor. T just don't
21 | understand the question.
22 MR. OSWALD: Well, from our side of the table, Your

23||/Honor, I think they first have to establish a valid claim

 

94 ||before you can seek the remedies. Remember, this is collateral

95 || for Saint Vincents' claim. My understanding is that other

 

 
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losses, other parts of the claims over the years have been paid
by Saint Vincents --

THE COURT: Okay. You're going to have to --

MR. OSWALD: -- the primary obligor.

THE COURT: When you say something to me, you're going
to have to -- when you say something to me, you're going to
have to define "Saint Vincents Hospital," "Saint Vincents
Medical Center."

MR. OSWALD: All right. Judge --

THE COURT: Too many Saint Vincents --

MR. OSWALD; Yes.

THE COURT: -- running around here.

MR. OSWALD: Saint Vincents Medical Center, the
debtors --

THE COURT: The merged entity --

MR. OSWALD: Right.

THE COURT: -=- in 2000 --

MR. OSWALD: Yes.

THE COURT: -- that went through bankruptcy and were
now the debtors.

MR. OSWALD: Yes.

THE COURT: Okay.

MR. OSWALD: Apologize, Your Honor.

THE COURT: Just be clear ==

MR. OSWALD: And --

 
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THE COURT: -- with me.

MR. OSWALD: I will. And against whom these proofs of
claims were filed.

MR. DAVIS: Your Honor --

MR. OSWALD: But we agree that there's been no draw on
the letter of credit.

MR. DAVIS: We --

MR. OSWALD: And I -- and we agree that the debtor
Saint Vincents Medical Center is not a party to that letter of
credit.

THE COURT: Okay. There's my question.

MR. OSWALD: Okay.

MR, DAVIS: Yeah, we -- Your Honor, we have claims
poth against QIL and against the debtors. And we haven't --

THE COURT: Don't get ahead of --

MR. DAVIS: -- drawn the letter of credit for either.

THE COURT: -- my questions, either one.

MR. DAVIS: Okay.

THE COURT: I have --

MR. DAVIS: I'll try not to.

THE COURT: I'm linear, so you got to help me here.

MR. DAVIS: I'll do the best TI can.

THE COURT: Does everyone agree that the AIG claims
are not secured by any property of the debtors with respect to

Code Section 541? De you want me to read it to you?

 
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1 MR. DAVIS: No, I know the -- I don't know of any. I
2 mean, Your Honor, the -- it's -- it's conceivable the debtor
3 might -- we might owe money to the debtor for some purpose, for

4 which we would have an offset, but I don't know of any, and

5 none is asserted at this time.

6 The security we're claiming, the security at issue

7 here today, is the letter of credit and the $800,000 that OIL

g provided.

3 THE COURT: Debtor?
10 MR. OSWALD: Correct.
11 THE COURT: Okay. Does anyone agree [sic] that the

12 70IL letters of credit are not property of the estate?

13 MR. DAVIS: I'm sorry. That was a double-negative.
14] I'm serry. Would you read it again?

15 THE COURT: I don't think it was a double-negative.
16 MR. DAVIS: TI -- I got confused. My mistake -- my
17 |} bad. Could you just tell me --

18 THE COURT: Yeah. Does everyone agree that the OIL

19] letters of credit are not property of the estate?

20 MR. DAVIS: Yes.
al THE COURT: There's no double-negative in there.
25 MR. DAVIS: You're absolutely right, there's no

23 || double-negative. And I agree with that statement.
a4 MR. OSWALD: ‘That's correct. The letter of credit is

951 QIlL's. And again, we -- our interest is the interest in the

 

 
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GxXCess --
THE COURT: S50 -- so you ==
MR. OSWALD: -- letter of credit, the collateral.
THE COURT: -- have nothing to rebut that. Okay.
Does Section 506(a) control whether there is an

allowed secured or allowed unsecured claim in the Bankruptcy

Court?

MR. OSWALD: We believe it does, Your Honor.

THE COURT: AIG?

MR. DAVIS: You mean in general or -- or as in this
case?

THE COURT: Does 506 control whether there is an
allowed secured or unsecured claim in the bankruptcy case, in
this case? We're only talking --

MR. DAVIS: Against property of the estate?

THE COURT: -- about this case.

MR. DAVIS: Yes.

THE COURT: I'm not here for a philosophical
discussion.

MR. DAVIS: Thank you. Yeah, we would agree that 506
would -- would govern whether there's a secured claim aqainst
property of the estate.

THE COURT: So both of you, does that mean -- doesn't
that mean that all claims are unsecured for the purpose of the

bankruptcy case, and that AIG has a contractual right outside

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1 of bankruptcy to enforce their rights against collateral
2 wherever that collateral might lie?
3 MR. DAVIS: Yes, Your Honor, we think so.
4 (Participants confer.)
5 MR. OSWALD: Provided that --
6 THE COURT: You can let the associate --
7 MR. OSWALD: Well --
8 THE COURT: -- argue, if you want to.
9 (Laughter.)
10 MR. OSWALD: Provided -- but provided the claims are -
ll }|}- as my colleague reminds me, provided that the claims are
12 ]/arising under that payment agreement, the 1998 payment
13 | agreement.
14 THE COURT: Answer that question. You mean all claims

15 | for unsecured purposes of the bankruptcy case. Doesn't that
16] mean that all claims are unsecured for the purposes of the

17 || Pankruptcy claims, with AIG having contractual rights outside
18 |}of bankruptcy to enforce their rights against collateral,

19] wherever that collateral may lie?

20 (Participants confer.)

a7 MR. OSWALD: Ms. Sheikh can respond. She knows the
22 THE COURT: Thank you.

23 MR. OSWALD: She knows the payment agreement --

24 THE COURT: State your name for the record,

ays MR. OSWALD: -- better than I do.

 

 
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MS. SHEIKH: Lara Sheikh of Togut, Segal & Seqal for
the liquidating trust.

Your Honor, AIG is enforcing its rights under a cross-
collateralizgation agreement that provides that obligations
between CMC and AIG and the agreements between --

THE COURT: For the record, say "Catholic Medical
Centers." I do not like acronyms.

MS. SHEIKH: Oh, I apologize. There's a -- there is a
eross-collateralization agreement that was entered into in
1998, concurrently with the 1998 payment agreement, between AIG

and Catholic Medical Centers, the predecessor to Saint Vincents

THE COURT: Saint Vincents Medical Center.

MS. SHEIKH: -- Catholic Medical Center --

THE COURT: Okay. Catholic Medical Center.

MS. SHEIKH: -- of New York.

THE COURT: Okay. It's not a question of whether they
ean assert the right. The issue is whether 506(a) applies; and
thus, whether the claims are secured or unsecured in
bankruptcy. That's the question.

MS. SHEIKH: JI agree, Your Honor. And I had
understood that there was a separate question as to whether AIG
could --

THE COURT: Can enforce those. That is.

MS. SHEIKH: Enforce --

 
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THE COURT: But answer the first one --

MS. SHEIKH: I see. Yes, I -- I agree that the
question is whether AIG's claims are secured or unsecured under
506 of the Bankruptcy Code.

THE COURT: Okay. And then, once -- and if they are
unsecured, because when -- if 506 controls, doesn't that mean
that all claims are unsecured for the purposes of the
bankruptcy case? That's what I said, because we said yes to
that. If 506 controls, does AIG have a contractual right
outside of bankruptcy to enforce their rights against the
collateral, wherever that's found? And you said yes to the
first part of that, soa --

MS. SHEIKH: Oh, actually, let me clarify then. I may
have misunderstood,

THE COURT: And so you didn't answer.

MS. SHEIKH: I do not believe --

THE COURT: Yeah.

MS. SHEIKH: Yeah. I don't believe that all of AIG's
claims are unsecured. A portion of AIG's claims are secured.

THE COURT: Okay. What controls, though? You're
saying no. So what controls that? Secured by what?

MS. SHEIKH: They are secured by collateral that was
provided by a non-debtor, OIL, under the agreements that were
entered into with the debtors' predecessor.

THE COURT: We're only talking about property of the

 
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1 estate. Is it secured by property of the estate?
2 MS. SHEIKH: The collateral is not property of the
3 estate, that is correct.
4 THE COURT: Se it's not secured by property of the
5 estate.
6 (Participants confer.)
7 MS. SHEIKH: That's correct.
8 THE COURT: Okay. Then my question, debtors: Upon
9 |}what basis can this Court exercise jurisdiction over this non-
10 | debtor entity?
L1 MR. OSWALD: We believe the nexus is the debters'
12 |] interest in that letter of credit. In other words, as I said
13 |] earlier, to the extent that --
14 THE COURT: Does it matter that the OIL letter of
15 || credit is not property of the estate?
6 MR. OSWALD: I don't think it --
17 THE COURT: Aren't you just a holder of that? It's
18 | still a claim.
19 MR. OSWALD: Well, we -- we believe there's enough of
20 ||a nexus there between the Saint Vincents Catholic Medical
21] Center debtor and its interest in that letter of credit and the
22 }collateral that backs up that letter of credit to give this
23] Court Jurisdiction.
24 MR. DAVIS: We, of course, disagree. And I would
25 | characterize the situation somewhat differently. The debtor

 

 
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does not actually have an interest in the residual dollars that
might be available from non -- not depleting the letter of
credit. The debtor owns the shares of OIL. And those dollars
might end up being the source of a dividend. But what the
debtor owns are the shares of OIL. And the Second Circuit has
been clear, time and again, that owning shares does not give
you jurisdiction over the property of the entity in which you
own shares.

THE COURT: Do you wish to add anything? I need you
to respond to what -- I'm sorry

MR. OSWALD: Yeah, again, we think, based upon the
support -- the arguments we made in the papers --

THE COURT: -- what Mr. Davis said. JI wanted to call
him "David." What Mr. Davis said.

MR. DAVIS: People have called me that from time to
time. I don't mind.

THE COURT: I'm sorry, I didn't hear --

MR. OSWALD: No, I didn't have anything to add other
than my earlier argument, Your Honor, what we said in the
papers.

THE COURT: You doen't have any response to what Mr.
Davis just said?

MR. OSWALD: No. We believe that you have -—- the
requisite nexus is there, and this Court has -- can determine

whether or not this piece of the claim, the two-million-dollar

 
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1 piece or thereabouts, is secured or not.
2 THE COURT: And it doesn't matter that OIL is not a
3 debtor --
4 MR. OSWALD: Right.
5 THE COURT: == cannot be a debtor. All right.
6 For both of you, I have this question. Filing a proof
7 of claim raises core jurisdiction under the allowance or
8 disallowance of a claim. Are we core or are we non-core? What

9 have we got here?

10 MR. DAVIS: The issue of the allowance of our claim

11 |] against the property of the estate is a core proceeding;

12 | however, the Hagerstown case, among others, holds that, even as

13 ]}a core proceeding, disputes about that claim would be subject

14 || to arbitration. But that's not the issue today. The issue --
15 THE COURT: That's right --

16 MR. DAVIS: Yeah.

17 THE COURT: -- it's not, so

18 MR. DAVIS: Yeah. The issue today is: Are we core

19 |}with respect to the claim against QIL? No. We're not only not

20 ||} core, we're not even within the Court's jurisdiction at all.

21 MR. OSWALD: Well, again, we believe we are
99 | substantial core under the Hostess line of cases. We think

23 || Hagerstown was on point, as well. You do have these nine
24i/claims. The component of --

25 THE COURT: I -- and before you go -- Mr. Davis,

 

why?

 
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Tell me why.

MR. DAVIS: Why which? I'm sorry.

THE COURT: Well, by your statement, I want to know
why. Repeat your statement to me. TI can't -- I --

MR. DAVIS: Oh, why --

THE COURT: Why was coming up, and my brain went off
because Mr. Oswald spoke.

MR. DAVIS: I'm sorry. I'm not sure what statement
you're referring me back to. But if it was --

THE COURT: If I'm determining a claim --

MR. DAVIS: Yes.

THE COURT: == and you think -- don't think that's --
that's the --

MR. DAVIS: You can determine the amount of the claim.

THE COURT: Right.

MR. DAVIS: Unless there's an arbitration clause,
which the enforcement of which does not conflict with the
Bankruptey Code.

In the Hagerstown case, the Thorpe case in the Ninth
Cirewit, the U.S. Lines case in this circuit; the series of
cases, which as the Thorpe Court said the sister circuits have
all agreed upon. The established rule -- and we -- I think
pretty much universally now is that bankruptcy courts do not
have discretion to refuse arbitration unless the Bankruptcy

Code itself implicates what the rights of the parties are, as

 
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‘i distinguished from the procedural matter.

In Hagerstown, this Court, the Southern District, said

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3 you have procedurally core matters which must be allowed to
4 arbitrate, and you have substantively core matters which are
5 |met. I can go on, on this. I'm not sure, I may be over-

6 answering your question, but --

4 THE COURT: That's the second issue. I'm on the first
a issue,

9 MR. DAVIS: Yeah.

10 THE COURT: I'm on procedural of core and non-core,

11 j} ana whether or not this Court is asked to allow or disallow a
12 || claim right now.

13 MR. DAVIS: Yeah. A claim is procedurally core if the
14] substantive rights being adjudicated are derived from non-

15 ]}bankruptcy law. A claim is core if the substantive rights

16 ]}being adjudicated are derived from bankruptcy law. That's why

17 || Hostess, which was adjudicating access to cash collateral --

18 THE COURT: i =

19 MR. DAVIS: -- which is governed by --

20 THE COURT: I got that Hostess.

21 MR. DAVIS: Yeah. Yeah.

22 THE COURT: Let me take a look. Okay.

23 MR. DAVIS: Like 503(c), the issue is governed by bank
2>4]-- by the Bankruptcy Code.

eles In Hagerstown, you had claims, some of which were

 

 
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1 governed by the Bankruptcy Code, and some of which were not.

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3 brief, the issue was: Did the debtor have -- I'm sorry -- d
4 the Glaimant-creditor have a claim because -- based on the f

that the plan violated the contract? And the Court said, we

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6 of course that's core because the question is does the plan
7 violate the contract.

8 So the line that's been drawn by the circuit courts
cs) throughout the country, I think uniformly now, is that if th
10 | underlying right is derived from non-bankruptcy law, then

11 | arbitration continues to control; and if the underlying righ
12 ||is derived from the Bankruptcy Code, then it's not.

13 THE COURT: Mr. Oswald, can you cite -- can the deb
14 ||cite that core jurisdiction extends to whether a claim is

15 || secured or unsecured when the application of 506(a) is not a

16 || lssue?

7 MR. OSWALD: Well, but again, Your Honor, we think
18 | veah, they have filed their proofs of claim here. A compone
19 ]/of the proofs of claim covers this period of 1995 to 1999.
20 || payment agreement is relied upon by AIG in support of that
21 }claim. Saint Vincents Hospitals -- not Saint Vincents Medic

292 |Center -- the pre-merged entity is not a party to that
23 || agreement.
24 And again, the threshold issue before any creditor

95||/seeks relief against collateral or gets paid even on an

 

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unsecured claim is establishing what that claim is and the
character of that claim. And I think that's what this Court
does. I think, frankly, that's what the Eighth Cireuit, that
Thorpe case indicated, that the proofs of claim implicate the
bankruptcy, and the jurisdiction and the distribution issues to
creditors, and that was part of that rationale.

THE COURT: Well, Mr. Davis, how can you -- but this
is a -- let me go back for a second, though, before I go to Mr.
Davis. This is a non-debtor, non-property-of-the-estate
collateral. Why is that core jurisdiction? Based just on
filing of the proof of claim?

MR. OSWALD: Again, the collateral is backing up a
claim of a debtor, proof of claim filed against the debtor --

THE COURT: Well, just a moment on that.

MR. OSWALD: Uh-huh.

THE COURT: Backing up the claim of a debtor who is
the equity holder of that non-debtor?

MR. OSWALD: The --

THE COURT: Your associate wants to say something;
she's itching.

(Laughter.)

MS. SHEIKH: Well, Your Honor, I think that it's
important to recognize that the resolution of the SVH losses is
one component of numerous claims that have been asserted by

AIG; that they assert are all secured by collateral, which was

 
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provided by a non-debtor, QIL. And we believe that they are --

THE COURT: But teday, we're only --

MS. SHEIKH: -- over-secured --

THE COURT: -- on these four claims.

MS. SHEIKH: That's correct.

THE COURT: ‘Today, we're only four claims.

MS. SHEIKH: That's correct. But I -- I -- when you
read the Hostess decision --

THE COURT: I -- okay.

MS. SHEIKH: -- in particular --

THE COURT: I've got it right here.

MS. SHEIKH: -- I think that -= and we didn't -- we
didn't fully address in our cross-motion and our response to
the motion this issue of turnover, which will be an ultimate

issue, once AIG's claim against the estate is fixed, and we'll

THE COURT: I quess I'm trying to get nexus more
clearly today.

MS. SHEIKH: Right. So the core --

THE COURT: And that's my question.

MS. SHEIKH: Right. The substantially core issue
within -- kind of as the case law has developed in the Second
Circuit is the ultimate issue, which is: What is the secured
claim that AIG has against the estate? And we -- and we

believe that that is an issue that's within this Court's core

 
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Jurisdiction to determine, to what extent AIG has a secured
claim.
And I am not aware of any case law that -- that any of
the -- the case law cited by AIG for the proposition that a

letter of credit is not property of the estate, we don't
dispute that. But I don't think those cases address what
portion of a claim that a party has against the -- an estate --
a debtor's estate is secured by a letter of credit.

THE COURT: Mr. Oswald, do you want to add?

MR. OSWALD: Again, just to ecrystalize it, you're
right.

THE COURT: Okay.

MR. OSWALD: We're dealing with, just for today, this
one issue on these four claims.

THE COURT: Right.

MR. OSWALD: Claims against the debtor, and whether or
not they are secured or unsecured. Granted, the security sits
with the non-debtor sub.

THE COURT: Right. Right.

MR. OSWALD: Okay? You don't pay out on the claim,
the security comes to the debtors and its creditors.

THE COURT: And that non-debtor sub, the debtors
basically only hold an equity interest in it.

MR. OSWALD: Tes.

THE COURT: Okay.

 
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MR. DAVIS: And if I may --
MR. OSWALD: And then -- and then just add for the --
I think that, not only the Hagerstown, but the Hostess -- Your
Honor said you have the Hostess decision there. But the other

factors that go into substantially core and whether the parties
did aqree to arbitrate, again, that's one of the reasons that
that stipulation that Your Honor referred to before has the
exclusion is this issue, I presume it was on the radar. And
you'll notice our firm wasn't a party to that stipulation;
Kramer handled that. But that's why we dispute that that -- on
this core -- this issue was not subject to the arbitration
agreement.

THE COURT: And Mr. Davis, how can you separate the
allowance of your proof of claim in the bankruptcy case from
the determination of whether the OIL letters of credit secure
the claim.

MR. DAVIS: It's -- really, it's something that
happens all the time, when you have a guarantor, Your Henor.
The amount of our claim will be fixed by this Court, to the
extent it's a general unsecured claim. And that issue may,
itself, be subject to arbitration, but that's not subject to
today's discussion. I can show you there is an arbitration
elause.

Should we have a dispute about the amount of that

claim, and we don't seem to, we would have -- we would have a

 
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right to arbitrate that dispute, also, because it's purely a
matter of contract, it has nothing to do with bankruptcy law
whether the amount of that claim is 2 million or 2.2 million,
or whatever the disagreement might be, if there is a
disagreement.

I would point out, by the way, we're in arbitration
with the debtors right now.

THE COURT: We know you are.

MR. DAVIS: Yeah.

THE COURT: We've already said that.

MR. DAVIS: Yeah, and --

THE COURT: Everything -- we're only here on these
four.

MR. DAVIS: And --

THE COURT: Does it affect the value of the debtors'
asset if your claim is secured or unsecured?

MR. DAVIS: Only -- if they own shares in any company,
if they owned shares in Apple Computer, and Apple Computer has
a litigation with somebody, it would affect the value of the
estate, whether Apple prevails or loses in that -- in that
dispute. That doesn't give this Court jurisdiction over a
dispute between Apple and Samsung, just because they're a
shareholder in Apple.

THE COURT: This is --

MR. DAVIS: And that's what <--

 

 
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THE COURT: This is -- this is --
MR, DAVIS: -- the Second Cireuit --
THE COURT: -- a bankruptcy case.
MR. DAVIS: And that --
THE COURT: We're talking about a bankruptcy case.
MR. DAVIS: That's what we -- but we are talking about

that. Lf =

THE COURT: Apple is not in bankruptcy.

MR. DAVIS: No. Your Honor, please. If Saint Vincent
owned shares in Apple, and Apple has a multi-billion-dollar
dispute with Samsung -- and they do, if I got that correct in
my head -- that multi-billion-dollar dispute could affect the
value of their holdings in Apple. But that doesn't give this
Court any jurisdiction over the dispute between Apple and
Samsung because all they are, are a shareholder.

The Second Circuit has said time and again --

THE COURT: What case? Give me a case when you say
that.

MR. DAVIS: The case -- it's the Beck v. Feldman case
that we cited in our brief, and then I would cite you to --

THE COURT: Boes it make a difference that OIL is
wholly owned?

MR. DAVIS: No, not at all. And that's what the
Second Circuit said.

THE COURT: And Apple is publicly traded; OIL is not.

 
